Case 1:02-cV-01152-.]DB-tmp Document 625 Filed 07/15/05 Page 1 of 8 Page|D 742

.£?,1 h
IN THE UNITED STATES DISTRICT COURT "5,@ ay
FOR THE WESTERN DISTRICT OF TENNESSEE 05

EASTERN DIVISION JUL /5 F” _
\- /»?: *`
LARRY STEVE MELTON, LARRY S_ MELTON, 05 p,;¢?wz,w:;-M h ‘

and R & J OF TENNESSEE, INC_, /;j§[,/»;* H;:y$i;}Q/YU@

ft .,g£~“,

Plainriffs, °’{‘SO/'%f

VS.

BANK OF LEXINGTON branch ofBANK OF FRIENDSHIP,
TERESA HARRIS, B & H INVESTMENTS, INC., BENNIE
FESMIRE, DIANE TUCKER, HAROLD WALDEN
BLANKENSHIP, DEAN BLANKENSHIP, FRANKIE
STANFILL, KEVIN CARTER, The law firm of MILAM
CARTER & STANFILL, REGINA MILLER, TODD
HENDERSON, WILLIAM WILHITE, DAVID RIDDICK,
The law firm of HOLMES, RICH, SIGLER & RIDDICK,
DON WEBSTER, JIMMY BARBOUR, WALDON GWINN,
JAMES PUTNAM, TIM PILKINGTON, JAMES E. SMITH,
M,V, WILLIAMS, JR., INVESTMENT MANAGEMENT
FINANCE, INC., and JOHN DOES I, II, HI, and IV,

Defendants,

HAROLD WALDEN BLANKENSHIP,

Defendant/Third Party Plaintiff,
vs.
JOHN MELTON, HOWARD DOUGLASS, AMERICAN
HOME FINANCIAL SERVICES, INC., AMERICAN
HOME FINANCIAL SERVICES II, [NC., BLANKENSHIP/
MELTON AVAITION, INC., LARRY STEVE MELTON,
LARRY S. MELTON, R & J OF TENNESSEE, INC.,
BANK OF LEXINGTON, BRANCH OF FRIENDSHIP,

Third Party Defendants.
LAR_RY S. MELTON,

Plaintiff/Third Party Defendant/
Third Party Plaintiff,

VVW\-./\¢_/\_/\_/\._/\._/\_/\_r'\~_/\_/\_/\_/\_/\_/\__/\-.-/\_./\_./\~,/\_/\./\-J\_/\_/\-/\-/\_/\_/\_./\`./\./\./\_/\_J\_/VVV

Thls document entered on the docket shea l c rn liance 6
with Rule 58 and,'or_rs (a) FRCP on fl \\|E§ g §§ g

Case 1:02-cV-01152-.]DB-tmp Document 625 Filed 07/15/05 Page 2 of 8 Page|D 743

VS.

BRADLEY KIRK, CARTER, STANFILL & KIRK, PLLC,
DANIEL PERKY, SHIRLEY BLANKENSHIP, KELLY W.
BLANKENSHIP, BLANKENSHIP CONSTRUCTION, LLC,
BLANKENSHIP/MELTON REAL ESTATE, INC., BETH
MALOAN, JENNIFER AZBILL, JACK HOLMES, PAUL
PRIDDY, l\/IICKEY GRANGER, DENNIS HUBBARD,

K.C. ARNETT, RICHARD McCORl\/IICK, BLANKENSHIP
BROTHERS’ CONSTRUCTION COMPANY, CITY OF
LEXINGTON, KEVIN CARTER, FRANKIE STANFILL,
HAROLD WALDEN BLANKENSHIP, DEAN
BLANKENSHIP, REGINA MILLER, WILLIAM WILHITE,
DAVID RIDDICK, JIMMY BARBOUR, WALDON GWINN,
JAMES PUTNAM, TIM PILKINGTON, JAMES E. SMITH,
M.V. WILLIAMS, JR., BANK OF LEXINGTON, Branch of
BANK OF FRIENDSHIP, B & H INVESTMENTS, INC.,
BENNIE FESMIRE, DIANE TUCKER, and JOHN DOE I,

\_/\_/\_/\_/\_/\_/\_/\_/\_/\_/\_/\_/\_/\_/\_/\_/\_/\_/\_./\/

Third Party Defendants.

 

ORDER DISMISSING THE COUNTER CLAIMS/CROSS-CLAIMS
OF LARRY S. MELTON AS TO DEFENDANT, BANK OF LEXINGTON, BRANCH
OF THE BANK OF FRIENDSHIP

 

This matter came before this Court, upon P]aintiff/Third-Party Defendant/Third-
Party Plaintiff Larry S. Melton’s counterclaims and cross-claims against Defendants and
Third-Party Defendant, Bank of Lexington, Branch of Bank of Friendship, and the
responses of said Defendant and Third-Party D€fcndant to Plaintiff/Third-Party
Plaintift` s counterclaims and cross-claims.

Federal Rule of Civil Procedure 14 governs third-party practice. Rule l4(a)
allows for a defending party, as a third-party plaintiff to bring in “a person not a party to
the action who is or may be liable to the third-party plaintiff for all or part of the
plaintiffs claim against the third-party plaintiff.” Fed. R. Civ. P. l4(a). Rulel4(b)

further allows a plaintiff, upon a counterclaim being asserted against him, to bring in a

Case 1:02-cv-Oll52-.]DB-tmp Document 625 Filed 07/15/05 Page 3 of 8 Page|D 744

third-party “under circumstances which under this rule would entitle a defendant to do
so.” Fed. R. Civ. P. l4(b). The Court finds that Larry S. Melton’s further counterclaims
and cross-claims were asserted against individuals and entities who are the original
Defendants in this case and thus, who are already parties to this lawsuit. Rule l4(a)
therefore does not allow for third-party claims to be brought against these individuals and
entities. Because the Defendants would not be allowed to bring third-party claims against
these persons, the Plaintiff/Counter-Defendant also is not allowed to bring such
additional claims under Rule l4(b).

Federal Rule of Civil Procedure 15 governs amendments to pleadings and allows
for such under a strict time table:

A party may amend the party’s pleading once as a matter of course at any time

before a responsive pleading is served, or if the pleading is one to which no

responsive pleading is permitted and the action has not been placed upon the trial

calendar, the party may so amend it at any time within 20 days after it is served.
Fed. R. Civ. P. 15(a). A party may otherwise amend his pleading only by leave of court
or by written consent of the adverse party. § Local Rule of Court for the Western
District of Tennessee 7.2 further prescribes certain conditions for filing motions in this
Court, including the requirement of a certificate that the movant has consulted with
counsel and that the parties are either able or unable to reach agreement as to the issues or
the action requested by the motion. L.R. 7.2(a)(l)(B). The Court finds that
Plaintiff/Counter-Defendant Larry S. Melton, in filing his further counterclaims and
cross-claims against the original Defendants, has not met the requirements of either Rule

15 or the Local Rules of this Court.

Case 1:02-cv-Oll52-.]DB-tmp Document 625 Filed 07/15/05 Page 4 of 8 Page|D 745

lt is therefore ORDERED that Plaintiff Larry S. Melton’s further counterclaims
and cross-claims against the Defendant Bank of Lexington, Branch of the Bank of

Friendship are dismissed

Cl)_
tr ls so oaDERi-:D this (S day 0 ,2005.

~%v~\

. n NIEL BREEN `
uni Er) srArEs DisrRiCr JUDGE
APPRovED FoR ENTRY:

HARRIS, SHELTON, HANOVER, WALSH, PLLC

Brf §\)\\.\l\l\/"`/
J‘ iss . iRBY #4708
J RE L GRIFFIN #20760
At‘torney for Defendant Bank of Friendship
2700 One Commerce Square

Memphis, TN 38103
(901) 525-1455

Case 1:02-cv-Oll52-.]DB-tmp Document 625 Filed 07/15/05 Page 5 of 8 Page|D 746

CERTIFICATE OF SERV ICE

The undersigned certifies that a true copy of this pleading or document was
served upon counsel for each of the parties by mailing postage prepaid or by delivery to

the person or office of such counsell

1\/lr. Larry S. Melton, Pro Se
116 Hidden Valley Cove
LeXington, TN 38351

Mr. Tim Edwards

Ms. Lacey Adair

Glassman, Edwards, Wade & Wyatt, P.C.
26 North Second Street

Memphis, TN 38103

Mr. L. Lee Harrell

Harrell & Harrell

110 Northwest Court Square
Trenton, 11\1 38382

Mr. Daniel D. Warlick

Warlick Law Office

611 Commerce Street, Suite 2712
Nashville, TN 37203

:l’\
This the [§} l day of July, 2005.

Mr. Williams S. Walton
Miller & l\/Iartin

1200 Once Nashville Place
150 Fourth Avenue North
Nashville, TN 37219-2433

Mr. Richard Glassman

Mr. R. Douglass I-Ianson

Glassman, Edwards, Wade & Wyatt
26 North Second Street

Memphis, TN 38103

l\/lr. Jerry E. Mitchell
Mr. Craig C. Conley
One Commerce Square, Suite 2900
1\/1emphis7 TN 38103

l\/lr. Bradley G. Kirk
Carter, Stantill & Kirk
25 Natchez Trace Drive
Lexington, TN 38351

 

effrey IlJGriffin

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 625 in
case 1:02-CV-01152 was distributed by faX, mail, or direct printing on
July 18, 2005 to the parties listed.

ESSEE

 

Craig C. Conley

THOMASON HENDRIX HARVEY JOHNSON & 1\/11TCHELL

40 South Main Street
Ste. 2900
1\/1emphis7 TN 38103

.1 ames L. Kirby

HARRIS SHELTON DUNLAP COBB & RYDER

One Commerce Square
Ste. 2700
1\/1emphis7 TN 38103

Daniel D. Warlick

LAW OFFICE OF DAN WARLICK
611 Commerce Street

Ste. 2712

Nashville, TN 37203

Bradley G. Kirk

CARTER STANFILL & KIRK
25 Natchez Trace Dr.
Lexington, TN 38351

.1 ohn D. Burleson

RAINEY KIZER REVIERE & BELL
105 S. Highland Avenue

Jackson, TN 38302--114

Larry S. Melton
116 Hidden Valley Cove
Lexington, TN 38351

William S Walton
1\/1[LLER & MARTIN
1200 One Nashville Place
150 Fourth Ave. North
Nashville, TN 37219--243

Case 1:02-cv-Oll52-.]DB-tmp Document 625 Filed 07/15/05 Page 7 of 8

.1 effrey L. Griffin

HARRIS SHELTON DUNLAP COBB & RYDER
2700 One Commerce Square

1\/1emphis7 TN 38103

Richard Glassman

GLASSMAN EDWARDS WADE & WYATT, P.C.

26 N. Second Street
1\/1emphis7 TN 38103

Tim Edwards

GLASSMAN EDWARDS WADE & WYATT, P.C.

26 N. Second Street
1\/1emphis7 TN 38103

.1 effrey L. Griffin

HARRIS SHELTON DUNLAP COBB & RYDER
One Commerce Square

Ste. 2700

1\/1emphis7 TN 38103

.1 ohn T. Downing

Federal Deposit 1ns. Corp.
550 17th Street NW
Washington, DC 20429

L. Lee Harrell

HARRELL & HARRELL
110 Northwest Court Sq.
Trenton, TN 38382

R. Douglas Hanson

GLASSMAN EDWARDS WADE & WYATT, P.C.

26 N. Second Street
1\/1emphis7 TN 38103

Milton Dale Conder

RAINEY KIZER REVIERE & BELL
105 S. Highland Ave.

P.O. Box 1147

Jackson, TN 38302--114

Beth Maloan
83 Bonaire Circle
Jackson, TN 38305

Page|D 748

Case 1:02-cv-Oll52-.]DB-tmp Document 625 Filed 07/15/05 Page 8 of 8 Page|D 749

.1 ohn D. Stevens

RAINEY KIZER REVIERE & BELL
209 East Main Street

P. O. BoX 1147

Jackson, TN 38302--114

.1 erry E. Mitchell

THOMASON HENDRIX HARVEY JOHNSON & 1\/11TCHELL
40 S. Main St.

Ste. 2900

1\/1emphis7 TN 38103--552

William F. Burns
WATSON BURNS, LLC
One Commerce Square
Ste. 2600

1\/1emphis7 TN 38103

Robert A. CoX

GLASSMAN EDWARDS WADE & WYATT, P.C.
26 N. Second Street

1\/1emphis7 TN 38103

Honorable .1. Breen
US DISTRICT COURT

